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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND

  Karen Darke
  Plaintiff,
  v.                                             Case No.: 1:21−cv−00158−JJM−PAS

  James Mataronas, et al.
  Defendant.

                              PRETRIAL SCHEDULING ORDER

          Pursuant to Rule 16 of the Federal Rules of Civil Procedure, it is ordered that:
                  1.   All factual discovery shall be completed by January 4, 2022

                  2.   Plaintiff shall make its expert witness disclosures as required by Fed. R.
                       Civ. P. 26(a)(2) by February 4, 2022

                  3.   Defendant shall make its expert witness disclosures as required by Fed.
                       R. Civ. P. 26(a)(2) by March 7, 2022

                  4.   All expert discovery shall be completed by April 4, 2022

                  5.   Dispositive motions shall be filed by May 4, 2022


          The parties shall add any known additional defendants or third−party defendants
  within sixty (60) days of the date of this order.
          No discovery motions shall be filed until after the party in good faith tries to
  resolve the matter with opposing counsel. If that does not resolve the dispute, the party
  must first have an informal conference with the Court, which can be arranged by
  contacting the judge's Case Manager at the direct extension listed below.
          It is so ordered.

   July 2, 2021                                    By the Court:
                                                   /s/ John J. McConnell, Jr.
                                                   United States Chief Judge



  U.S. District Court
  for the District of Rhode Island
  One Exchange Terrace
  Providence, RI 02903
  Case Manager: Barbara Barletta 401−752−7202
